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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ZACHARY GIAMBALVO, JOHN MOUGIOS,
 SHANE MASHKOW, KEVIN MCLAUGHLIN,
 MICHAEL MCGREGOR, FRANK MELLONI,
 and RENAISSANCE FIREARMS INSTRUCTION,
 INC., and all similarly situated individuals,

                                    Plaintiffs,                      22 Civ. 04778 (GRB)(ST)

         -against-                                                   FIRST AMENDED
                                                                     COMPLAINT FOR
 SUFFOLK COUNTY, New York,                                           DECLARATORY AND
 Police Commissioner RODNEY HARRISON,                                INJUNCTIVE RELIEF
 in his Official Capacity, MICHAEL
 KOMOROWSKI, Individually, ERIC BOWEN,
 Individually, WILLIAM SCRIMA, Individually,                         Jury Trial Demanded
 WILLIAM WALSH, Individually, THOMAS
 CARPENTER, Individually, JOHN DOES
 1-5, Individually and JANE DOES 1-5,
 Individually,
                                     Defendants.
 ----------------------------------------------------------------x

         Plaintiffs, ZACHARY GIAMBALVO, JOHN MOUGIOS, SHANE MASHKOW, KEVIN

 MCLAUGHLIN, MICHAEL MCGREGOR, FRANK MELLONI, and RENAISSANCE

 FIREARMS INSTRUCTION, INC., and on behalf of all similarly situated individuals for their

 First Amended Verified Complaint respectfully state:

                                        NATURE OF THE ACTION

         1.       This is an action for, inter alia, declaratory and injunctive relief, presumed

 compensatory damages in at least a nominal amount for violations of the First, Second, Fourth and

 Fourteenth Amendments [42 U.S.C. § 1983], economic damages, and punitive damages against

 the individually named defendants proximately resulting from (i) the enforcement of Suffolk

 County policies and procedures related to handgun licensing; (ii) the enforcement of




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 unconstitutional state statutes; and (iii) Suffolk County’s failure to train, supervise, and discipline

 the staff of the Licensing Bureau.

         2.      The process for applying for and obtaining a handgun license from the Suffolk

 County Police Department (SCPD) is crushing – and by design. The Suffolk County Defendants

 intentionally and purposely obstruct the purchase, possession, and carrying of handguns by

 ordinary citizens, like Plaintiffs.

         3.      For a new applicant, obtaining a handgun license takes between 2-3 years.

         4.      SCPD enforces unconstitutional state statutes, including New York’s Concealed

 Carry Improvement Act (CCIA) (Senate Bill 51001), which mandates an in-person interview,

 disclosure of social media accounts, the name/contact information of significant others, spouse,

 and cohabitants, the subjective and overbroad attestations of four character references, 18-hour

 training requirements, and among other things, a catch-all provision requiring any other

 “information required by the licensing officer that is reasonably necessary and related to the review

 of the licensing application.”

         5.      As of September 1, 2022, unlicensed citizens seeking applying for an unrestricted

 concealed carry handgun license must complete the amended New York State Pistol/Revolver

 Application (PPB-3 08/22), which incorporates unconstitutional state requirements including those

 enumerated in Penal Law section 400.00(1)(o) and the 18-hour training course required by section

 400.00(19).

         6.      Unlicensed individuals who want to get the CCIA training out of the way while

 they await the issuance of their handgun license risk arrest and incarceration under an SCPD policy

 that ignores the state law exemption. Under SCPD policy, any unlicensed individual taking a live-




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 fire training class with a duly authorized instructor will be arrested and put in jail, as will the

 instructor.

          7.    As for licensees whose existing concealed carry 1 license is restricted to ‘target

 shooting’, ‘hunting’, or ‘sportsman’, SCPD requires filing an amendment application and paying

 a fee to remove unconstitutional restrictions, rather than deeming the licenses ‘unrestricted.’ The

 only reason such licenses were not ‘unrestricted’ upon issuance was the enforcement of the ‘proper

 cause’ requirement banned by the Supreme Court in Bruen.

          8.    SCPD’s policy is to apply the CCIA regulations, including the 18-hour training

 requirement, to existing restricted carry licensees who seek to have their carry restrictions

 removed; but the CCIA does not apply to existing concealed carry licenses until the renewal period.

 Put differently, the CCIA only applies at issuance and renewal. SCPD’s policy is unconstitutional.

          9.    Restricted carry licensees who carry outside of their restriction category face a

 credible threat of arrest, incarceration, license revocation, and other criminal and civil penalties by

 SCPD and the New York State Police under Penal Law section 400.00(15).

          10.   As if the provisions of the CCIA were not enough, Penal Law section 400.30 grants

 free reign to municipalities statewide to implement “any local law, code, ordinance, rule or

 regulation that is more restrictive than any requirement set forth in or established by this article.”

          11.   This action seeks a declaration (1) that Penal Law sections 400.00(1)(b),

 400.00(1)(o), 400.00(19), 400.30, and that portion of section 400.00(4-a) allowing statutory

 licensing officers 6 months to either issue a license or deny an application made thereunder violate

 the Second and Fourteenth Amendments; (2) that enforcing Penal Law section 400.00(15) against

 handgun licensees who carry a handgun registered thereon outside of their license restriction



 1
     “CCW.”

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 violates the Second and Fourteenth Amendments; (3) that a licensing process that exceeds 30 days

 from the presentment of the completed New York State Pistol/Revolver License Application (PPB-

 3) to the issuance of a license (or denial thereof) violates the Second and Fourteenth Amendments;

 and that (4) enforcement of a policy that subjects unlicensed individuals and duly authorized

 firearm instructors to arrest and incarceration in the context of live-fire handgun training violates

 the First, Second, Fourth, and Fourteenth Amendments.

 Prohibitory Injunction Against Suffolk County Police Commissioner Harrison

         12.      Plaintiffs are entitled to a preliminary and permanent injunction against Suffolk

 County Police Commissioner Rodney Harrison, and all successors, his officers, agents, servants,

 employees, and attorneys, and all other persons who are in active concert or participation with

 such defendants, who receive actual notice thereof from (1) implementing and enforcing Penal

 Law sections 400.00(1)(b), 400.00(1)(o), 400.00(19), 400.30, that portion of section 400.00(4-a)

 allowing statutory licensing officers 6 months to either issue a license or deny an application made

 thereunder, and section 400.00(15) against handgun licensees who carry a handgun registered

 thereon outside of their license restriction; (2) implementing a licensing process that exceeds 30

 days between presentment of the completed New York State Pistol/Revolver License Application

 (PPB-3) and issuance of a license (or denial thereof); (3) compelling applicants to complete the

 SCPD “Applicant Questionnaire”; (4) requiring applicants to be personally interviewed; (5)

 continuing to require “proper cause” for the issuance of a concealed carry license; and (6)

 enforcing a Suffolk County policy that subjects unlicensed individuals who participate in live-fire

 training with a duly authorized instructor to criminal penalties including arrest and incarceration. 2




 2
   Penal Law § 265.20 exempts unlicensed individuals from criminal penalties for engaging in live-fire training with
 a duly authorized instructor.

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 Prohibitory Injunction Against Acting Superintendent Nigrelli

         13.     Plaintiffs are entitled to a preliminary and permanent injunction against Acting

 Superintendent of the New York State Police Steven Nigrelli and all successors, his officers,

 agents, servants, employees, and attorneys, and all other persons who are in active concert or

 participation with him, who receive actual notice thereof from (1) publishing, implementing, and

 enforcing those sections of the New York State Pistol/Revolver Application PPB-3 (Rev. 08/22)

 that incorporate Penal Law section 400.00(1)(o) [PPB-3 page 2]; and (2) enforcing Penal Law

 section 400.00(15) against handgun licensees who carry a handgun concealed outside of their

 license restriction.

 Mandatory Injunction Against Suffolk County Police Commissioner Harrison

         14.     Plaintiffs are entitled to a preliminary and permanent mandatory injunction

 compelling Suffolk County Police Commissioner Rodney Harrison (and all successors) to: (i)

 provide the New York State PPB-3 application on the Suffolk County Police Department website

 and local police precincts; (ii) accept the PPB-3 for filing from all applicants upon presentment;

 (iii) fingerprint applicants upon presentment of the completed PPB-3 or, in the alternative, publish

 the Suffolk County Police Department ORI number on its website and in local precincts for

 applicants to submit their fingerprints directly to the New York State Division of Criminal Justice

 Services; (iv) photograph applicants upon presentment of the completed PPB-3 or, in the

 alternative, accept 2 statutorily required photographs from applicants upon presentment of the

 PPB-3; (v) cease publishing information that requires (and requiring) applicants show “proper

 cause” for the issuance of a concealed carry license; (vi) provide hours of public accessibility

 outside of the Licensing Bureau’s currently restricted hours of Monday-Friday from 9:00 – 4:30

 p.m.; and (vii) within 30 days of presentment of the completed PPB-3 application, issue a license



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 to all applicants eligible to possess firearms under state and federal law and provide ineligible

 applicants with a written notice specifying the grounds for denial.

                                    JURISDICTION AND VENUE

        15.     Jurisdiction in this court is proper pursuant to 28 U.S.C. § 1331 in that this action

 arises under the Constitution and laws of the United States, and under 28 U.S.C. § 1343(a)(3) in

 that this action seeks to redress the deprivation, under of color of the laws, statutes, ordinances,

 regulations, customs, and usages of the State of New York, of rights, privileges or immunities

 secured by the United States Constitution. This action seeks relief pursuant to 28 U.S.C. §§ 2201,

 2202, 42 U.S.C. §§ 1983 and 1988. Venue in this district is proper pursuant to 28 U.S.C. § 1391.

                                          THE PARTIES

        16.     Plaintiffs, ZACHARY GIAMBALVO, JOHN MOUGIOS, SHANE MASHKOW,

 KEVIN MCLAUGHLIN, MICHAEL MCGREGOR, and FRANK MELLONI, are all natural

 persons and residents of those portions of Suffolk County, New York subject to the jurisdiction of

 the Suffolk County Police Commissioner for the issuance of a New York State pistol license.

        17.     Plaintiffs Zachary Giambalvo, John Mougios, Shane Mashkow, and Kevin

 McLaughlin have all submitted to the procedures implemented by the SCPD Licensing Bureau for

 applying for a New York State handgun license.

        18.     Plaintiff Michael McGregor applied to the SCPD Licensing Bureau for a handgun

 license and, after 16 months (and the institution of a lawsuit to compel the Suffolk County Police

 Commissioner to issue a determination), Dr. McGregor was finally issued a handgun license

 restricted to ‘sportsman’ carry.

        19.     Plaintiffs Zachary Giambalvo, John Mougios, Shane Mashkow, Kevin

 McLaughlin, and Michael McGregor all intend to carry a handgun in public for self-defense.



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            20.     Plaintiff Frank Melloni is a duly authorized firearms instructor, certified by the

 National Rifles Association.

            21.     Plaintiff RENAISSANCE FIREARMS INSTRUCTION, INC. (“RFI”), is a

 corporation duly organized under the laws of the State of New York and located in Suffolk County,

 New York.

            22.     RFI provides firearms training to individuals through its various instructors,

 including Frank Melloni. RFI offers an 18-hour training course that meets the requirements of

 Penal Law § 400.00(19), as enacted by the CCIA.

            23.     Defendant, SUFFOLK COUNTY, New York (hereinafter the “County”), is a

 municipal corporate subdivision of the State of New York duly existing by reason of and pursuant

 to the laws of the State.

            24.     Defendant, RODNEY HARRISON, (hereinafter “Commissioner Harrison”), is the

 Police Commissioner of Suffolk County and has held that position since January 11, 2022.

 Commissioner Harrison is sued in his official capacity only.

            25.     As the Suffolk County Police Commissioner, Harrison is the statutory “licensing

 officer” 3 with the authority to issue licenses under Penal Law § 400.00 for the western towns of

 Suffolk County, New York.

            26.     Commissioner Harrison is properly named as the individual responsible for

 ensuring that the requested prospective injunctive relief is carried out. Koehl v. Dalsheim, 85 F.3d

 86, 89 (2d Cir. 1996).




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     Penal Law § 265.00(10).

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           27.   Defendant MICHAEL KOMOROWSKI (hereinafter “Lt. Komorowski”) is the

 lieutenant of the Suffolk County Pistol Licensing Bureau and employee of Suffolk County. Lt.

 Komorowski is sued herein in his individual and personal capacity only.

           28.   Lt. Komorowski is personally involved in and directly responsible for enforcing

 and implementing the licensing policies and procedures of the SCPD Licensing Bureau. Lt.

 Komorowski has day-to-day direct supervisory, personal, and directional authority over the police

 officers and/or investigators assigned to the Pistol Licensing Bureau, including Sgt. Eric Bowen,

 John Does 1-5 and Jane Does 1-5, including their training on, and day-to-day implementation of,

 the policies and procedures of the Licensing Bureau.

           29.   As set forth herein, and based on Frank Melloni’s prior dealings with him, Lt.

 Komorowski has the authority to, and does, create the policies and procedures of the SCPD

 Licensing Bureau.

           30.   At all times relevant herein, Lt. Komorowski enforced and implemented state

 statutes and SCPD policies and procedures challenged herein with the intention and/or in deliberate

 disregard Plaintiffs’ (and all similarly situated individuals’) Second and Fourteenth Amendment

 rights.

           31.   Lt. Komorowski has arrest powers and the authority to direct SCPD police officers

 to arrest and confine individuals at his direction.

           32.   Defendant Sergeant ERIC BOWMAN (hereinafter “Sgt. Bowman”) is assigned to

 the SCPD Pistol Licensing Bureau and an employee of Suffolk County. Defendant Bowman is

 sued herein in his individual and personal capacity only.

           33.   Sgt. Bowman has day-to-day direct supervisory and directional authority over the

 police officers and/or investigators assigned to the Pistol Licensing Bureau, John Does 1-5 and



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 Jane Does 1-5, including their training on, and day-to-day implementation of, the policies and

 procedures of the Pistol Licensing Bureau.

        34.     At all times relevant herein, Bowman enforced and implemented state statutes and

 SCPD policies and procedures challenged herein with the intention and/or in deliberate disregard

 Plaintiffs’ (and all similarly situated individuals’) Second and Fourteenth Amendment rights.

        35.     Relevant to Michael McGregor, and in 2020-2021, defendant WILLIAM SCRIMA

 (hereinafter “Captain Scrima”) was assigned to the SCPD Pistol Licensing Bureau. Captain Scrima

 had day-to-day direct supervisory and authority over the police officers and/or investigators

 assigned to the Pistol Licensing Bureau including Sgt. William Walsh, and certain of the John and

 Jane Does, and Investigator Carpenter, which involved their training on, and day-to-day

 implementation of, the policies and procedures of the Pistol Licensing Bureau. Defendant Scrima

 is sued herein in his individual and personal capacity only.

        36.     At all times relevant to Plaintiff McGregor herein, Scrima enforced and

 implemented the state statutes and SCPD policies and procedures challenged herein with the

 intention and/or in deliberate disregard of McGregor’s Second and Fourteenth Amendment right

 to purchase, possess, and carry handguns.

        37.     Relevant to Michael McGregor, and in 2020-2021, Defendant WILLIAM WALSH

 (hereinafter “Sgt. Walsh”) was assigned to the Pistol Licensing Bureau. Sgt. Walsh had day-to-

 day direct supervisory and directional authority over the police officers and/or investigators

 assigned to the Pistol Licensing Bureau, including certain of the John and Jane Does 1-5 and

 Investigator Carpenter, which involved their training on, and day-to-day implementation of, the

 policies and procedures of the Pistol Licensing Bureau. Defendant Walsh is sued herein in his

 individual and personal capacity only.



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         38.     At all times relevant to Plaintiff McGregor, Sgt. Walsh Scrima enforced and

  implemented the state statutes and SCPD policies and procedures challenged herein with the

  intention and/or in deliberate disregard of McGregor’s Second and Fourteenth Amendment right

  to purchase, possess, and carry handguns.

         39.     Defendant THOMAS CARPENTER (“Inv. Carpenter”) has been an applicant

  investigator in the SCPD Licensing Bureau since December 2009. Defendant Carpenter is sued

  herein in his individual and personal capacity only.

         40.     Carpenter has implemented and enforced the SCPD policies and procedures

  throughout his employment with SCPD, and was the investigator assigned to Plaintiff McGregor’s

  handgun license application.

         41.     At all times relevant to Plaintiff McGregor herein, Carpenter enforced and

  implemented the state statutes and SCPD policies and procedures challenged herein with the

  intention and/or in deliberate disregard of McGregor’s Second and Fourteenth Amendment right

  to purchase, possess, and carry handguns.

         42.     Defendants JOHN DOES 1-5 and/or JANE DOES 1-5 (the “Does”) sued in their

  individual capacity, were at all times relevant herein, employees of Suffolk County assigned to the

  Licensing Bureau.

         43.     The Doe defendants include SCPD employees personally involved in creating,

  enforcing and/or implementing the unconstitutional state statutes and SCPD policies challenged

  herein, including without limitation, those designed and intended to circumvent Penal Law §

  400.00(4-a); compelling submission of the “Applicant Questionnaire”; withholding publication of

  the State PPB-3 Application to the public; refusing presentment of the completed State PPB-3




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  Application; and restricting hours of operation; limiting interview/fingerprinting days to 1 day per

  week.

          44.     Does 1-5 acted, and failed to act, in deliberate disregard for the presumptively

  protected constitutional rights of Plaintiffs and all similarly situated individuals.

          45.     To reiterate, Komorowski, Bowman, Scrima, Walsh, Carpenter, and the Does,

  acting individually and/or in concert, enforced and implemented SCPD policies and procedures

  challenged herein knowingly, intentionally, and/or in deliberate disregard of Plaintiffs’ (and all

  similarly situated individuals’) Second and Fourteenth Amendment rights.

          46.     At all relevant times, the individual Suffolk County Defendants were acting on

  behalf of, and in furtherance of, their positions as employees of the Suffolk County Police

  Department.

          47.     Suffolk County is liable for the acts and omissions of each individually named

  defendant, including the Does, based on the existence of Monell liability for the unconstitutional

  SCPD policies and procedures described herein.

          48.     Defendant STEVEN NIGRELLI is the Acting Superintendent of the New York

  State Police (NYSP) whose principal place of business is in Albany, New York. Superintendent

  Nigrelli is sued in his official capacity only.

          49.     As the Acting Superintendent of the NYSP, Nigrelli supervises and oversees the

  NYSP Pistol Permit Bureau, and is statutorily responsible for creating, publishing, and enforcing

  use of the New York State Pistol/Revolver Application PPB-3, required by statute to be used by

  every licensing officer statewide for the licensing process under § 400.00 (except in the City of

  New York). Penal Law § 400.00(3).




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          50.      Approval of the NYSP Superintendent of Police is required before for any licensing

  officer may use any application other than the New York State Pistol/Revolver Application PPB-

  3. 4

                                            LEGAL FRAMEWORK

  I. The First Amendment

          51.      Congress shall make no law…abridging the freedom of speech.

          52.      The loss of First Amendment freedoms, for even minimal periods of time,

  unquestionably constitutes irreparable injury. Elrod v. Burns, 427 U.S. 347 (1976), accord,

  Paulsen v. County of Nassau, 925 F.2d 65, 68 (2d Cir.1991) (even a temporary abridgment of the

  First Amendment right to free expression constitutes an irreparable injury).

  II. The Second Amendment

          53.      The Second Amendment to the United States Constitution provides: “A well

  regulated Militia being necessary to the security of a free State, the right of the people to keep and

  bear Arms shall not be infringed.” The Second Amendment is fully applicable to the states through

  the Fourteenth Amendment. See, McDonald v. Chicago, 561 U.S. 742 (2010).

          54.      The rights protected by the Second Amendment – the right to possess and carry

  weapons - are “pre-existing” and “individual rights”. They are not “granted” by the government.


            “Putting all of these textual elements together, we find that they guarantee the
            individual right to possess and carry weapons in case of confrontation. This
            meaning is strongly confirmed by the historical background of the Second
            Amendment. We look to this because it has always been widely understood that
            the Second Amendment, like the First and Fourth Amendments, codified a
            pre-existing right. The very text of the Second Amendment implicitly
            recognizes the pre-existence of the right and declares only that it “shall not

  4
   “Blank applications shall, except in the city of New York, be approved as to form by the superintendent of state
  police.” Penal Law § 400.00(3).

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           be infringed.” As we said in United States v. Cruikshank, 92 U.S. 542, 553, 23
           L.Ed. 588 (1876), “[t]his is not a right granted by the Constitution. Neither is it
           in any manner dependent upon that instrument for its existence. The second
           amendment declares that it shall not be infringed ....
  District of Columbia v. Heller, 554 U.S. 570, 592 (2008) (emphasis added).

         55.     The right to possess and carry weapons for self-defense is presumptively

  guaranteed. New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2126, 2135 (2022)

  (“In keeping with Heller, we hold that when the Second Amendment’s plain text covers an

  individual’s conduct, the Constitution presumptively protects that conduct.”) (emphasis added);

  see also, Caetano v. Massachusetts, 577 U.S. __ (2016) (weapons in common use for self-defense

  are protected within the scope of the Second Amendment).

         56.     Under the Bruen test for analyzing Second Amendment challenges:


           “When the regulated conduct falls within the plain text of the Second
           Amendment, the Constitution presumptively protects that conduct.

           The government must then justify its regulation by demonstrating that it is
           consistent with the Nation’s historical tradition of firearm regulation.

           Only then may a court conclude that the individual’s conduct falls outside the
           Second Amendment’s ‘unqualified command.’”

  Bruen, at 2126 (emphasis added).
         57.     Handguns are weapons in common use for self-defense and protected within the

  scope of the Second Amendment. Heller, 554 U.S. at 629.

         58.     Subjective licensing schemes that imbue discretion in a government official, rather

  than employing objective criteria, violate the Second and Fourteenth Amendments. “If there be

  any fixed stars in our constitutional constellation, it is that no official high or petty, shall dictate

  whether we can exercise our fundamental constitutional rights.” Reply Brief for Petitioners, New

  York State Rifle & Pistol Assn. v. Bruen, 2021 WL 943564 citing, W. Virginia State Bd. of Educ.

  v. Barnette, 319 U.S. 624 (1943).
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           59.      “Going forward, therefore, the 43 States that employ objective shall-issue licensing

  regimes for carrying handguns for self-defense may continue to do so.” Bruen, 142 S.Ct. at 2162.

           60.      “Likewise, the 6 States including New York potentially affected by today’s

  decision may continue to require licenses for carrying handguns for self-defense so long as those

  States employ objective licensing requirements like those used by the 43 shall-issue States.” Ibid.

           61.      The Bruen Court conditioned the constitutional survival of ‘may issue’ licensing

  schemes like New York on the prompt conversion to objective factors “like those used by the 43

  shall-issue states.” Bruen, at 2162. But, of the plethora of additional regulations imposed since the

  Bruen opinion, none convert New York’s licensing scheme from its constitutionally prohibitive

  ‘may issue’ condition to an objective ‘shall issue’ one.

           62.      Rather than comply, the CCIA regulations exacerbate defective and antiquated

  regulations. Adding to the State-imposed barricades, Suffolk County policies further obstruct the

  path to the free exercise of conduct protected by the Second and Fourteenth Amendments.

           63.      Even for those states with “shall issue” licensing schemes 5, the Supreme Court

  cautioned that lengthy wait times violate the Second and Fourteenth Amendments. Bruen, 142 S.

  Ct. at 2138, FN 9 (“[B]ecause any permitting scheme can be put toward abusive ends, we do not

  rule out constitutional challenges to shall-issue regimes where, for example, lengthy wait times in

  processing license applications or exorbitant fees deny ordinary citizens their right to public

  carry.”) (emphasis added).

           64.      Requiring a license to purchase or possess a firearm is inconsistent with this

  Nation’s historical tradition of firearm regulation, particularly for long guns which have been


  5
    https://crimeresearch.org/2022/04/twenty-five-states-have-constitutional-carry/ Twenty-five states do not require a
  license to possess firearms – deemed “constitutional carry” states. Of the remaining states, 18 are “shall issue” and 7
  states are discretionary “may issue” states – New York, New Jersey, California, Massachusetts, Rhode Island,
  Maryland, Hawaii – and the District of Columbia.

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  freely owned, possessed, and carried since the mid-1600s. 6 Had it been our Nation’s history and

  tradition to require the People to seek and obtain permission from the government before

  exercising the preexisting right to ‘keep and bear Arms’ the Second Amendment’s edict

  prohibiting infringement of such conduct would have been in vain. Of course, there is no such

  historical tradition.

                             New York State General Business Law Section 898
                          Private Sale or Disposal of Firearms, Rifles and Shotguns

             65.     In New York State, all sales, exchanges, or disposals of firearms, rifles, or shotguns

  shall be preceded by a National Instant Criminal Background Systems (NICS). 7

             66.     Federally licensed firearms dealers (FFLs) are prohibited from allowing the transfer

  of a firearm to an individual whose NICS check does not either result in a “proceed” response to

  the dealer or in the event of a NICS “delay” result, thirty calendar days have elapsed since the date

  the dealer contacted NICS to initiate a NICS check and no “deny” has been received. FFLs are

  prohibited from transferring a firearm to anyone whose NICS check results in “deny.”

             67.     With certain limited exceptions, no ordinary citizen can even legally rent or ‘try

  out’ a handgun before spending hundreds of dollars on a new firearm – even where the individual

  has a valid handgun license – because every handgun must be registered to that particular

  individual’s handgun license to lawfully possess a particular handgun.

             68.     There is no historical analogue for such a regulation.




  6
      https://www.guns.com/news/2017/07/01/guns-of-the-greatest-revolution-ever
  7
      Except where such sale, exchange or disposal is between members of an immediate family. Id.

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  The New York State Licensing Scheme

             69.      In New York, the mere possession of a handgun is a crime. [Penal Law § 265.00,

  et seq.].

             70.      A conviction of a misdemeanor or a felony under § 265.00, et seq. terminates an

  individual’s right to possess and purchase handguns, rifles, and shotguns. 8

             71.      Possession of a handgun, even in one’s home for self-defense, is a crime punishable

  under Penal Law section 265.00, et seq. See, People v. Abdullah, 23 Misc. 3d 232, 233, 870

  N.Y.S.2d 886, 887 (Crim. Ct. 2008) (defendant charged with violating § 265.01 for mere

  possession of an unloaded .25 caliber semi-automatic pistol from inside his home).

             72.      Simply being charged with an offense under Penal Law 265.00, et seq., even if

  dismissed, will result in the denial of a license under § 400.00 because the State’s licensing s (the

  “Scheme”) is discretionary and subjective.

             73.      New York has a ‘may issue’ firearm licensing scheme that imbues licensing officers

  with “broad discretion” to issue, deny, suspend, and/or revoke licenses. See, “Good Moral

  Character” section, infra.

             74.      By statute, applicants for any type of license under the Scheme are required to

  complete the Statewide application created and approved by the Superintendent of the NYSP.

             75.      No other application or questionnaire is authorized to be imposed on pistol license

  applicants other than the statewide application approved by the Superintendent of the NYSP.

  [Penal Law § 400.00(3)].




  8
      See, Penal Law sections 265.00(17); 265.01(3); 400.00(1)(c); 18 U.S.C. 922(g).

                                                            16
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           76.      The Superintendent of the NYSP has not approved any applications, forms, or

  questionnaires for the obtaining a NYS pistol permit, nor has any application for such document

  been submitted by any jurisdiction, including SCPD.

           77.      With the enactment of the Concealed Carry Improvement Act (CCIA) on

  September 1, 2022, the NYSP amended the New York State Pistol/Revolver Application PPB-3

  (Rev. 06/16) to incorporate the provisions of § 400.00(1)(o) in PPB-3 (Rev. 08/22).

           78.      Licensing officers “shall accept for processing” the State Application “upon

  presentment.” Penal Law § 400.00(4-a).

           79.      Within 6 months of the presentment of the State Application, the licensing officer

  “shall” issue the license or deny the application with reasons specifically and concisely stated in

  writing. 9 Penal Law §400.00(4-a).

           80.      Presentment of the State Application to the statutory licensing officer starts the 6-

  month statutory clock to either issue the license or deny the application “for reasons specifically

  and concisely stated in writing.” Penal Law § 400.00(4-a).

           81.      That portion of Penal Law § 400.00(4-a) providing statutory licensing officers 6

  months from presentation of the State Application (the PPB-3) to issue a license or deny an

  application is an unconstitutionally ‘lengthy’ wait time and violates the Second and Fourteenth

  Amendments.




  9
    4-a. Processing of license applications. Applications for licenses shall be accepted for processing by the licensing
  officer at the time of presentment. Except upon written notice to the applicant specifically stating the reasons for any
  delay, in each case the licensing officer shall act upon any application for a license pursuant to this section within six
  months of the date of presentment of such an application to the appropriate authority. Such delay may only be for
  good cause and with respect to the applicant. In acting upon an application, the licensing officer shall either deny the
  application for reasons specifically and concisely stated in writing or grant the application and issue the license applied
  for.

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                                                    2 Photographs

           82.      Each applicant must also “submit one photograph of himself or herself and a

  duplicate for each required copy of the application. Such photographs shall have been taken within

  thirty days prior to filing the application.” [Penal Law § 400.00(3)].

           83.      The 2 required photographs may be obtained by the applicant and submitted with

  the NYS PPB 3. There is no statutory requirement that the licensing officer or its ‘duly constituted

  police authority’ photograph the applicant. [Penal Law § 400.00(3)].

                                      Criminal History Background Check

           84.      Each pistol license applicant must submit to fingerprinting, which must be

  transmitted to the division of criminal justice services in the executive department in Albany

  (DCJS) and the federal bureau of investigation.

           85.      Every law enforcement agency is assigned an ORI number (Originating Agency

  Identifier), which validates legal authorization to access Criminal Justice Information (CJI) and

  identifies the agency in all transactions. 10

           86.      Upstate, pistol license applicants are provided with the ORI number of the local

  Sheriff’s Office. This allows applicants to submit their fingerprints and obtain their criminal

  history report (the “Report”) directly from DCJS within 3-4 weeks and provide the Report to the

  licensing officer along with their State Application and photographs.

                                                Mental Health Check

           87.      In addition to a fingerprint-based criminal history check, the statute requires a

  search of the “Statewide license and record database” 11 and the records of the appropriate office


  10
    https://www.justice.gov/tribal/page/file/1247566/download
  11
    See, Penal Law § 400.00.02, discussing the statewide license and record database created and maintained by the
  division of state police. “All records containing granted license applications from all licensing authorities shall be


                                                           18
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  of the Department of Mental Hygiene concerning previous or present mental illness of the

  applicant, which “shall be available for inspection by the investigating officer of the police

  authority.” Penal Law § 400.00(4).

                                            CCIA-Imposed Regulations

           88.      The CCIA 12 was enacted 8 days after, and in response to, the Supreme Court’s

  opinion in New York State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111 (2022) 13, took effect

  on September 1, 2022. Gov. Hochul called the already-recessed state legislature back for a special

  session to pass the CCIA. 14

           89.      At Gov. Hochul’s August 31, 2022 press conference, Defendant Acting NYSP

  Superintendent Steven Nigrelli vociferously thanked Governor Hochul as “someone [he] looks up

  to” for her “leadership on this topic…laser-like focus on eradicating guns, illegal guns, and gun

  crimes...we appreciate that at the State Police.” (36:10). Id. (emphasis added).

           90.      Acting NYSP Superintendent Nigrelli and the NYSP will enforce the State’s gun

  laws against everyone who violates them. Nigrelli vowed:


            “Governor, it’s an easy message. I don't have to spell it out more than this. We’ll
            have zero tolerance. If you violate this law, you will be arrested. Simple as that.
            Because the New York State Troopers are standing ready to do our job to
            ensure .. all laws are enforced.” Id. (emphasis added).




  monthly checked by the division of criminal justice services in conjunction with the division of state police against
  criminal conviction, criminal indictment, mental health, extreme risk protection orders, orders of protection, and all
  other records as are necessary to determine their continued accuracy as well as whether an individual is no longer a
  valid license holder. The division of criminal justice services shall also check pending applications made pursuant to
  this article against such records to determine whether a license may be granted.”
  12
     Senate Bill S51001.
  13
     https://www.youtube.com/watch?v=gC1L2rrztQs
  14
     https://www.youtube.com/watch?v=gC1L2rrztQs

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                                 “Good Moral Character” - § 400.00(1)(b)

          91.      The “very enumeration of the right takes out of the hands of government—even the

  Third Branch of Government—the power to decide on a case-by-case basis whether the right is

  really worth insisting upon.” Bruen, at 2129 quoting, Heller, 554 U.S. at 634. “We then concluded:

  “A constitutional guarantee subject to future judges’ assessments of its usefulness is no

  constitutional guarantee at all.” Ibid.

          92.      The bright line factors for firearms eligibility under state and federal law include

  felony convictions 15, involuntary commitment in a mental hospital or adjudication as mentally

  incompetent 16, dishonorable discharge 17, and convictions of ‘serious offense’ misdemeanors (New

  York). 18

          93.      Prior to the enactment of the CCIA, section 400.00(1) provided that no license shall

  be issued except for an applicant “(b) of good moral character.”

          94.      With the CCIA amendment to subsection (b), “No license shall be issued or

  renewed” under section 400.00 except for an individual who is “of good moral character, which,

  for the purposes of this article, shall mean having the essential character, temperament and

  judgement necessary to be entrusted with a weapon and to use it only in a manner that does not

  endanger oneself or others.” § 400.00(1)(b).

          95.      Under both the old and new language, the “good moral character” language

  continues to be anything but objective. The language of section 400.00(1)(b) is a vague, overly

  broad, and unconstitutionally discretionary. Section 400.00(1)(b) authorizes denial of a license




  15
     18 U.S.C. § 922(g); § 400.00(1)(c).
  16
     18 U.S.C. § 922(g); § 400.00(1)(j), (m).
  17
     18 U.S.C. § 922(g); § 400.00(1)(g).
  18
     As defined by § 265.00(17). See, § 265.01; § 400.00(1)(c). See also, 18 U.S.C. § 922(g) prohibiting domestic
  misdemeanants.

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  based on a subjective opinion of who has the ‘right’ “character”, can be “trusted”, what is an

  “essential temperament”, and whether the applicant has one.

           96.      The CCIA’s language change brings nothing new to New York’s licensing

  regulations; it simply codifies what New York courts have been allowing to take place for decades

  in a Scheme created under the false belief that handguns are a privilege, the Second Amendment

  applies to the collective militia and does not apply to the states. 19

           97.      On the ground level, subsection (b) is at odds with the very purpose of the Second

  Amendment – using a firearm in self-defense, which may necessarily require its use to specifically

  “endanger others.”

           98.      Contra Heller, McDonald, and Bruen, subsection (b) incorporates the thrice-

  rejected interest-balancing rationale 20 where the government’s desire to ‘protect the public’

  somehow always ends up outweighing the guaranteed individual rights of the People. Heller at

  592 (“Putting all of these textual elements together, we find that they guarantee the individual

  right to possess and carry weapons in case of confrontation.”) (emphasis).

           99.      Subsection (b) is a new codification of the old mantra of New York courts touting

  the State’s “substantial and legitimate interest and indeed, a grave responsibility, in insuring [sic]

  the safety of the general public from individuals who, by their conduct, have shown themselves to

  be lacking the essential temperament or character which should be present in one entrusted with a

  dangerous instrument.” Finley v. Nicandri, 272 A.D.2d 831, 832, 708 N.Y.S.2d 190, 191 (2000)




  19
     Peterson v. Kavanagh, 21 A.D.3d 617, 617–18 (3d Dept. 2005) (“Lastly, we reject petitioner’s argument that the
  Second Amendment confers an individual right on him to keep and bear arms. Absent evidence that possession of the
  pistol bears some reasonable relationship to the preservation or efficiency of a well-regulated militia, no individual
  right to possess it is conferred (see Bach v. Pataki, 289 F.Supp.2d 217, 224–226 (2003).”
  20
     Bruen, at 2127 citing, Heller and McDonald.

                                                           21
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  (revoked, no conviction); Waskiewicz v. New York City Police Dep’t, 211 A.D.2d 603, 604 (1st

  Dept. 1995) (revoked for arrest, no conviction).

         100.       New York continues to treat possessing and carrying handguns as a government-

  bestowed privilege, not a right [Minervini v. Kelly, 22 A.D.3d 238, 239 (1st Dept. 2005)] that can

  be “revoked and cancelled at any time.” Penal Law § 400.00(11)(a). The CCIA perpetuates this

  distorted view.

         101.       Being charged with a violation or crime, even where charges are dismissed or result

  in a non-criminal conviction, provides a basis for license revocation. La Grange v. Bruhn, 276

  A.D.2d 974, 975 (3d Dept. 2000) citing, Matter of Zalmanov v. Bratton, 240 A.D.2d 173 (1st Dept.

  1997); Velez v. DiBella, 77 A.D.3d 670 (2d Dept. 2010) (upholding denial of license based on

  charges dismissed in defendant’s favor, and a non-criminal conviction); accord, Gonzalez v.

  Lawrence, 36 A.D.3d 807, 808 (2d Dept. 2007).

         102.       Yet, a licensee is not entitled to a “formal hearing” before a license is revoked.

  Pacicca v. Allesandro, 19 A.D.3d 500, 501 (2d Dept. 2005).

         103.       The ‘new’ language of subsection (b) does nothing to divest the licensing officers

  of the “broad discretion” imbued by New York courts for decades. Finley, at 832 (Respondent is

  therefore “vested with broad discretion” in determining whether to revoke a pistol permit);

  Brookman v. Dahaher, 234 A.D.2d 615, 616 (3d Dept. 1996).

         104.       Indeed, a subjective belief that a licensee “exercise[d] [] poor judgment in the

  handling of a weapon is a sufficient ground for revocation of a pistol permit.” Brookman v.

  Dahaher, 234 A.D.2d 615 (3d Dept. 1996) (upholding revocation because licensee “exhibited

  disregard for the proper use of a handgun” by wearing his .38 caliber pistol holstered on his person




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  “in plain view of adults and children in his residential neighborhood” while performing yardwork

  “in clear violation of the hunting and target practice restrictions on his permit.”).

         105.    Post-Bruen, New York has done nothing to bring its firearm laws into compliance

  with the Constitution; quite the opposite.

                             Concealed Carry Burden - Section 400.00(1)(o)

         106.    Section 400.00(1)(o) requires a face-to-face interview with each applicant for a

  concealed carry license.

         107.    The face-to-face requirement of § 400.00(1)(o) is inconsistent with this Nation’s

  historical traditions of firearm regulations; there is no historical analogue.

                  Section 400.00(1)(o)(i) – Relationships, Cohabitants, and Children

         108.    Section 400.00(1)(o)(i) and PPB- 3 (Rev. 08/22) require CCW applicants to

  disclose the names and contact information for the applicant’s current spouse, or domestic partner,

  any other adults residing in the applicant’s home, including any adult children of the applicant,

  and whether or not there are minors residing, full time or part time, in the applicant’s home.

         109.    The requirement that a license applicant, like Plaintiffs, disclose personal

  information about relationships, cohabitants, and children as a condition of or prior to exercising

  conduct protected by the Second Amendment is inconsistent with this Nation’s historical traditions

  of firearm regulations; there is no historical analogue.

                   Section 400.00(1)(o)(ii) – No Less Than 4 Character References

         110.    Section 400.00(1)(o)(ii) and PPB- 3 (Rev. 08/22) require CCW applicants to

  provide the names and contact information of “no less than four character references” who:


           “can attest to the applicant’s good moral character and that such applicant has
           not engaged in any acts, or made any statements that suggest they are likely to
           engage in conduct that would result in harm to themselves or others.”


                                                    23
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          111.    Section 400.00(1)(o)(ii) is not simply a character reference requirement.

          112.    Rather, applicants must obtain a sworn statement from “no less than four” people

  that aver the applicant has never engaged in any acts or made any statements that suggest they are

  likely to engage in conduct that would result in harm to themselves or others.”

          113.    The information sought under § 400.00(1)(o)(ii) is subjective opinion that, even if

  false, does not constitute a formal adjudication of any state or federal statutory prohibitor to firearm

  possession.

          114.    The language of § 400.00(1)(o)(ii) is vague, overly broad, without temporal

  limitations, subjective, and discretionary.

          115.    This regulation arbitrarily applies to a concealed carry license, but not to possessing

  a handgun in the first instance.

          116.    Enforcement of § 400.00(1)(o)(ii) discourages, prevents, and otherwise interferes

  with the exercise of the protected Right. SCPD requires the character references to live in Suffolk

  County, and they cannot be “relatives either by blood or marriage, active law enforcement officers,

  husband and wife combinations, or any two (2) or more members of the same family or

  household.”

          117.    Because all applicants are subject to a fingerprint-based state and federal criminal

  background check and mental health check, this regulation is not only inconsistent with our

  country’s traditions, but obsolete in the modern age.

                           Section 400.00(1)(o)(iv) – Social Media Accounts

          118.    Section 400.00(1)(o)(v) requires CCW applicants a list of former and current social

  media accounts of the applicant from the past three years to confirm the information regarding the

  applicant’s character and conduct as required in subparagraph (ii) of this paragraph.

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         119.   Subsection (o)(iv) pits the First Amendment against the Second; Plaintiffs should

  not have to choose between two constitutionally protected rights.

         120.   Section 400.00(1)(o)(v) has no historical analogue.

                      Section 400.00(1)(o)(iii) and 400.00(19) - - Mandatory Training

         121.   Section 400.00(1)(o)(iii) requires production of a certification of the mandatory

  training regulations under § 400.00(19) before a CCW license can issue.

         121.   Section 400.00(19) provides that before a concealed carry license may issue or be

  renewed/recertified, the individual must complete “an in-person live firearms safety course

  conducted by a duly authorized instructor with curriculum approved by the division of criminal

  justice services and the superintendent of state police, and meeting the following requirements,

  including at a minimum 18 hours of training, including:

     a. a minimum of sixteen hours of in-person live curriculum approved by the division of

         criminal justice services and the superintendent of state police, conducted by a duly

         authorized instructor approved by the division of criminal justice services, and shall include

         but not be limited to the following topics: (i) general firearm safety; (ii) safe storage

         requirements and general secure storage best practices; (iii) state and federal gun laws; (iv)

         situational awareness; (v) conflict de-escalation; (vi) best practices when encountering law

         enforcement; (vii) the statutorily defined sensitive places in subdivision two of section

         265.01-e of this chapter and the restrictions on possession on restricted places under section

         265.01-d of this chapter; (viii) conflict management; (ix) use of deadly force; (x) suicide

         prevention; and (xi) the basic principles of marksmanship;

     b. a minimum of two hours of a live-fire range training course;




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     c. proficiency by scoring a minimum of eighty percent correct answers on a written test for

          the curriculum under paragraph (a) of this subdivision and the proficiency level determined

          by the rules and regulations promulgated by the division of criminal justice services and

          the superintendent of state police for the live-fire range training under paragraph (b) of this

          subdivision.

          122.   Under Bruen, if the conduct falls under the plain text of the Second Amendment,

  which this does, the government alone has the burden of justifying its regulation by demonstrating

  that it is consistent with the Nation’s historical tradition of firearm regulation. Bruen, 142 S.Ct. at

  2126.

          123.   The test is not, whether the regulations are “so onerous as to fall within the scope

  of what …Bruen called ‘exorbitant.’” Antonyuk v. Hochul, No. 122CV0986GTSCFH, 2022 WL

  5239895, at *12 (N.D.N.Y. Oct. 6, 2022) citing Bruen’s reference to ‘shall issue’ regimes and the

  potential for abusive ends through “lengthy wait times and…exorbitant fees…” to deny ordinary

  citizens the right to public carry. Bruen, at 2138, n. 9.

          124.   The average cost of such training, if one can locate a training facility, is between

  $400 -$800, plus the cost of ammunition for “a minimum of two hours of a live-fire range training

  course.”

          125.   There is no historical tradition of government-imposed and costly training

  regulations on an ordinary person prior to or as a condition of exercising the Right to bear arms.

  The CCIA training requirement is patently inconsistent with this Nation’s historical traditions and

  no historical analogue exists – and the plain language of the Right that “shall not be infringed.”




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                                                  Penal Law § 400.30

             126.     Nothing in this article shall be construed to impair or in any way prevent the

  enactment or application of any local law, code, ordinance, rule or regulation that is more

  restrictive than any requirement set forth in or established by this article.

             127.     Section 400.30 has no historical analogue and is inconsistent with this Nation’s

  historical traditions.



  III. The Fourth Amendment

             128.     The right of the people to be secure in their persons, houses, papers, and effects,

  against unreasonable searches and seizures, shall not be violated, and no Warrants shall issue,

  but upon probable cause, supported by Oath or affirmation, and particularly describing the place

  to be searched, and the persons or things to be seized.

             129.     A local government’s decision not to train certain employees about their legal duty

  to avoid violating citizens’ rights may rise to the level of an official government policy for purposes

  of § 1983. To satisfy the statute, a municipality’s failure to train its employees in a relevant respect

  must amount to deliberate indifference to the rights of persons with whom the untrained employees

  come into contact. Connick v. Thompson, 563 U.S. 51, 61 (2011).

  SUFFOLK COUNTY LICENSING BUREAU POLICIES AND PROCEDURES

             130.     SCPD’s Pistol Licensing Bureau website provides links to the Guide to Obtaining

  a Suffolk County Pistol License, Answers to Frequently Asked Questions, Online Forms, Register

  for Pistol License Online, Pistol Licensing Fees, and Pistol License Contact Information. 21




  21
       https://suffolkpd.org/Precincts-and-Specialized-Units/Specialized-Units/Pistol-License-Bureau?/

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          131.    Neither the SCPD website nor the local precincts provide, refer to, or mention the

  State Application or where to locate it. Nowhere does SCPD inform applicants that the State

  Application is required to be completed and filed with SCPD obtain a pistol license – a license

  cannot be granted without the completed State Application.

          132.    It has been, and continues to be, SCPD policy and procedure to intentionally

  obstruct and delay the handgun licensing process in deliberate disregard for the constitutional

  rights of its citizens. The SCPD defendants and Licensing Bureau staff have exhibited and

  continue to exhibit a deliberate indifference to the Second and Fourteenth Amendment rights of

  Plaintiffs and all similarly situated individuals.

  Suffolk County Police Department Guide to Obtaining a License

          133.    SCPD publishes a “Guide to Obtaining a Suffolk County Pistol License” (the

  “Guide”), but not an analogous ‘Guide’ for obtaining a rifle license.

          134.    Under the Guide, applicants are informed that they must (i) complete the SCPD

  “Applicant Questionnaire” and deliver it in person or mail it to the Licensing Bureau 22 along with

  a check or money order for ten dollars ($10.00) made payable to “S.C.P.D.”

          135.    The Guide advises that the applicant will be assigned an investigator and scheduled

  for an “in-person interview” at the Licensing Bureau, where he also will be fingerprinted and

  photographed (the “Appointment”).

          136.    The applicant must also bring certain documents to the Appointment. Relevant

  herein, a NYS Driver License or Non-Driver Identification, recent pay stub or employment

  identification, Original Birth Certificate or a valid U.S. Passport, voter registration card, utility

  bill, or tax bill to prove residency in Suffolk County, and another fee of $88.25.


  22
    Prior to the recent and ongoing cyber-attack on Suffolk County government, applicants were able complete the
  Applicant Questionnaire online, but it is unclear whether payment was accepted online.

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           137.     The Guide makes no mention of the required State PPB-3 Application. The only

  application form identified in the Guide is the Applicant Questionnaire.

           138.     SCPD policy knowingly and intentionally leads the public to believe that the

  Applicant Questionnaire is the handgun license application that commences the 6-month statutory

  timeframe under Penal Law § 400.00(4-a).

           139.     Despite the Supreme Court’s opinion in Bruen, SCPD continues to inform

  applicants that they will be required to show “proper cause pursuant to Penal Law Section 400.00

  Sub. 2(f)” 23 to obtain a concealed carry license.

           140.     The Guide identifies, inter alia, numerous unconstitutional discretionary grounds

  to deny an application, including “any good cause.”

           141.     The SCPD Licensing Bureau staff has informed one or more Plaintiffs that the wait

  time to be assigned to an ‘investigator’ is approximately 2 years and can be up to 3 years.

           142.     It is not until the Appointment 2 years later that applicants are provided with (learn

  about) the PPB-3, which requires obtaining the original signatures of 4 character references; upon

  completion of the PPB-3, applicants return the PPB-3 to the Licensing Bureau.

           143.     The statutory 6-month timeframe for issuing a license or denying an application

  under § 400.00(4-a) begins ‘upon presentment’ of the State PPB-3 Application.

           144.     The hours of the Licensing Bureau are Monday-Friday from 9:00 a.m. – 4:30 p.m.

           145.     The Licensing Bureau only conducts the Appointments (interviews, fingerprinting,

  and photographing) one day per week - on Wednesdays.




  23
     The SCPD handgun licensing Guide still provides, “Full carry license, for the purpose of self-protection. If an
  individual is seeking a Self-Protection License, they will be required to show ‘proper cause’ pursuant to Penal Law
  Section 400.00 Sub. 2(f). ‘Proper cause’ is determined by a review of all relevant information bearing on their claimed
  need. They must show that they are exposed to extraordinary personal danger, documented by proof of recurrent
  threats to life or safety requiring authorization to carry a firearm.”

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             146.    SCPD policy requires individuals to first obtain a premises handgun license before

  being able to take the 18-hour concealed carry training required by the CCIA/§ 400.00(19).

             147.    Penal Law section 265.20(3-a), however, provides an exemption to prosecution

  under Penal Law 265 for unlicensed individuals who possess a pistol or revolver while undergoing

  live-fire range training and supervised by a duly authorized instructor pursuant to section 400.00.

             148.    It is SCPD policy, as communicated by Lt. Michael Komorowski, that any

  unlicensed individual who engages in live-fire handgun training with a duly authorized instructor

  – and any instructor providing live-fire training to an unlicensed individual - will be arrested and

  charged with a crime under Penal Law § 265.00 et seq., irrespective of the state law exemption.

             149.    Possessing a loaded handgun is a Class C Violent felony that carries mandatory

  minimum state prison sentence of 3 ½ years. 24

                                            MATERIAL FACTS

             150.    Each Plaintiff is eligible to possess, purchase, receive, and transfer firearms under

  state and federal law. No Plaintiff has ever unlawfully used or threatened the use of a firearm.

             151.    Each Plaintiff followed the procedures of the SCPD to obtain a license to possess

  and carry a handgun and paid the required filing fee prior to September 1, 2022, the date the CCIA

  took effect.

             152.    The 18-hour training programs in and around Nassau and Suffolk County cost

  between around $400 and $800.

             153.    Plaintiffs Giambalvo, Mougios, Mashkow, and McLaughlin face a credible threat

  of arrest and incarceration by Lt. Komorowski and/or other SCPD police officers if they fulfill in

  the 18-hour training requirement.



  24
       Penal Law § 70.00.

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         154.    Plaintiff McGregor faces a credible threat of arrest and incarceration by NYSP and

  SCPD police officers for carrying his registered handgun outside of his license restriction.

         155.    If SCPD is allowed to continue its abhorrent policies, Plaintiffs Giambalvo,

  Mougios, Mashkow and McLaughlin will be unable to lawfully purchase and possess a handgun

  for between 2-3 years; lawfully carrying a handgun for self-defense will take even longer

         156.    After already suffering for 16 months through the SCPD licensing process to obtain

  a restricted concealed carry license, Dr. McGregor should not have to amend his license, or take

  the CCIA training to lawfully carry a handgun in public for self-defense.

         157.    Plaintiffs object to enforcement of the SCPD policies detailed herein, as well as

  Defendants’ enforcement of Penal Law sections 400.00(1)(b), 400.00(1)(o), 400.00(15),

  400.00(19), 400.30, and any licensing process that takes more than 30 days after presentment of

  the PPB-3 to issue a license.

  Zachary Giambalvo

         158.    Zachary Giambalvo (“Mr. Giambalvo”), is a resident of Suffolk County with no

  prohibitors to the possession of firearms.

         159.    Mr. Giambalvo intends to immediately purchase, possess, and carry a 1911-style

  platform handgun sold by Camp-Site, a federally licensed firearms dealer located in Huntington,

  New York.

         160.    Mr. Giambalvo would have already purchased a 1911-style handgun, but for the

  fact that he cannot legally purchase or possess a handgun until SCPD issues him a handgun license.

         161.    Mr. Giambalvo intends to purchase and possess handguns, conduct presumptively

  protected by the plain text of the Second Amendment, without having to seek and obtain a

  discretionary license to do so.



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         162.    Mr. Giambalvo intends to obtain a 1911-style handgun legally, without the

  requirement that he obtain a license or permission to do so, after undergoing a NICS background

  check, and to thereafter possess that handgun in his home and on his property without obtaining a

  discretionary handgun license from SCPD.

         163.    Mr. Giambalvo also intends to carry a handgun concealed in public for self-defense,

  without having to be subjected to a discretionary licensing scheme, having to provide his social

  media account information, personal relationship and family information, in-person interview,

  training requirements, and character references required by the CCIA.

         164.    To comply with New York law, Mr. Giambalvo subjected himself to the state’s

  licensing scheme. Mr. Giambalvo visited the SCPD website find out how to apply for a handgun

  license. From the website and the information provided therein, commencement of the application

  process required submitting the completed Applicant Questionnaire and a $10 filing fee made

  payable to “SCPD.”

         165.    In February 2020, Mr. Giambalvo submitted his completed Applicant

  Questionnaire and $10 fee to the SCPD Licensing Bureau.

         166.    Months later, Mr. Giambalvo contacted the Licensing Bureau to check on the status

  of his application and was informed that his check was “never received”, and he would have to

  submit another application and $10 fee.

         167.    Mr. Giambalvo completed another Applicant Questionnaire, which he filed with

  the Licensing Bureau along with the $10 fee in and around June 2022.

         168.    By email dated July 19, 2022, the Licensing Bureau informed Mr. Giambalvo,

  “there is an approximately a 2 year wait before you will hear from an investigator” to schedule the

  “in person interview.”



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         169.   In August 2022, Mr. Giambalvo called the Licensing Bureau to find out when his

application would be assigned to an investigator.

         170.   The woman who answered the phone at the Licensing Bureau, identified herself as

“Suzanne” and stated, “it’s going to take about 1 ½ to 2 years to get called for an interview.”

         171.   Mr. Giambalvo was not aware that the statutory 6-month timeframe for issuing a

license did not begin until presentment of the State Application (PPB-3) because SCPD did not

provide the PPB-3 or any indication that it was required to be filed.

         172.   Even if Mr. Giambalvo had attempted to present the completed PPB-3 to SCPD,

SCPD would refuse acceptance and require Mr. Giambalvo to wait for an appointment.

         173.   Mr. Giambalvo wants to submit the completed PPB-3 application, the 2 required

photographs, and his fingerprint-based unsuppressed criminal history report from the Division of

Criminal Justice Services to SCPD, but cannot because SCPD does not provide its ORI number

and will not accept the PPB-3 upon presentment.

         174.   Mr. Giambalvo intends to carry a handgun concealed but will not comply with the

requirements of Penal Law § 400.00(1)(o) or the “proper cause” requirement identified in the

Guide.

         175.   Mr. Giambalvo objects to waiting more than 30 days from presentment of the

completed PPB-3 State Application for SCPD to issue a license.

         176.   Mr. Giambalvo faces a credible risk of arrest and incarceration by SCPD. While he

objects to the training requirements of § 400.00(19), Mr. Giambalvo will attend an approved 18-

hour training course knowing that under SCPD policy, as announced by Lt. Komorowski, any

unlicensed individual who takes the 18-hour course, which contains a live-fire component, will be

arrested by SCPD.



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       177.       Mr. Giambalvo will attend the December 2022 18-hour course in Suffolk County

provided by Frank Melloni through his company, Renaissance Firearms Instruction, Inc., and he

should not have to choose between exercising a right protected by the Second Amendment or being

arrested and jailed.

       178.       Mr. Giambalvo contacted the Licensing Bureau to see if their position had changed

regarding accepting the PPB-3 upon presentment, as required by § 400.00(4-a). The man who

answered the phone at the SCPD Licensing Bureau looked for Mr. Giambalvo’s application in the

system and informed him, “There is nothing else you have to do, just when we get up to you in the

filing system.”

       179.       When Mr. Giambalvo asked if he could bring in the completed State Application,

he was informed, “The state application doesn’t mean anything. That would be for the state

troopers or the sheriffs, I don’t know what application they use. But the one that you filled out is

the one we have here so that’s all you need.”

       180.       The application filled out by Mr. Giambalvo is the Applicant Questionnaire – an

‘application’ not approved by the NYSP, meaning that a year-and-a-half from now when Mr.

Giambalvo is fingerprinted and interviewed – unless the injunctive relief sought herein is granted

– he will be handed the State Application to complete and file to start the 6-month clock running

under Penal Law § 400.00(4-a).

       181.       Incredibly, not only will the Licensing Bureau not accept the PPB-3 upon

presentment, according to the SCPD Licensing Bureau, the statewide PPB-3 license application

doesn’t even apply to them.


John Mougios




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       182.    John Mougios is a resident of Suffolk County with no prohibitors to the possession

of firearms.

       183.    Mr. Mougios intends to immediately purchase, possess, and carry a Berretta Px4

Storm from Bensons Gun Shop in Coram, New York, an FFL. Mr. Mougios would have already

purchased a Px4 but for the fact that he cannot legally purchase or possess a handgun until SCPD

issues him a handgun license.

       184.    Mr. Mougios intends to purchase, possess, and carry a handgun for self-defense

without having to be subjected to a discretionary licensing scheme, having to provide his social

media account information, personal relationship and family information, in-person interview,

training requirements, and character references required by the CCIA.

       185.    Mr. Mougios intends to carry a handgun concealed but will not comply with the

requirements of Penal Law § 400.00(1)(o) or the “proper cause” requirement identified in the

SCPD Guide.

       186.    Mr. Mougios objects to waiting more than 30 days from presentment of the

completed PPB-3 State Application for SCPD to issue a license.

       187.    To comply with New York’s gun laws, Mr. Mougios subjected himself to the state’s

licensing scheme.

       188.    In 2021, Mr. Mougios visited the SCPD website to identify the process and

procedure for applying for a New York State handgun license. From the website information, he

learned that the application process required filing a completed Applicant Questionnaire and $10

fee made payable to “SCPD.” No other application form was mentioned or provided on the SCPD

website.




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       189.    In July 2021, Mr. Mougios completed and submitted the Applicant Questionnaire

and the $10 fee to the SCPD Licensing Bureau.

       190.    Mr. Mougios has not heard from the Licensing Bureau, has not been assigned to an

investigator, has not been scheduled for an appointment to be fingerprinted or photographed, has

not received the State Application, and will not have such an appointment for another year based

on SCPD procedures.

       191.    Mr. Mougios wants to submit the completed PPB-3 application, the 2 required

photographs, and his fingerprint-based unsuppressed criminal history report from the Division of

Criminal Justice Services to SCPD, but cannot because SCPD does not provide its ORI number

and will not accept the PPB-3 upon presentment.



Shane Mashkow

       192.    Shane Mashkow (“Mr. Mashkow”), is a resident of Suffolk County; he has no

prohibitors to the possession of firearms.

       193.    Mr. Mashkow intends to immediately purchase, possess, and carry a Glock-19 from

Dark Storm Industries in Oakdale, New York (Suffolk County). Mr. Mashkow would have already

purchased a Glock-19 from Dark Storm but New York law prohibits the transfer or receipt of a

handgun without a handgun license.

       194.    Even if he purchased a handgun from an FFL (subject to a NICS background check)

outside of New York State, Mr. Mashkow would face criminal charges for possessing a handgun

in New York without a license – even in his home.




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       195.    Mr. Mashkow objects to being subjected to a discretionary licensing scheme to

simply exercise the guaranteed constitutional right to keep and bear arms - conduct presumptively

protected by the plain text of the Second Amendment.

       196.    Mr. Mashkow also intends to carry a handgun concealed and will not comply with

the disclosure of information under Penal Law § 400.00(1)(o), like providing his social media

accounts, disclosure of personal relationship and family information, an in-person interview, the

character references, and the 18-hour training requirements, and the subjective ‘moral character’

language. Mr. Mashkow also does not want to be at the mercy of a county employee with discretion

to require me to provide “any such other information.”

       197.    To comply with New York law, Mr. Mashkow subjected himself to the state’s

licensing scheme. In 2020, he utilized the SCPD website to learn the process for obtaining a

handgun license. The process required submission of a completed Applicant Questionnaire with a

$10 filing fee made payable to “SCPD.” The only application mentioned and provided on the

SCPD website was the Applicant Questionnaire.

       198.   Mr. Mashkow submitted the completed Applicant Questionnaire and the $10 fee to

the Licensing Bureau. Months later, and in and around November/December 2021, Mr. Mashkow

called the Licensing Bureau to check on his application.

       199.   Like Mr. Giambalvo, Mr. Mashkow was informed that his check was “never

received” and that he would have to submit another application and $10 fee.

       200.    Mr. Mashkow completed another Applicant Questionnaire, which he filed with the

Licensing Bureau along with the $10 fee in February 2022 – 8 months ago.

       201.   In July 2022, Mr. Mashkow called and emailed the Licensing Bureau to find out

when he would be called in to be fingerprinted.



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        202.   The woman at the Licensing Bureau laughed, then stated that he should get an

appointment sometime in February 2024.

        203.   The email response from the Licensing Bureau on July 14, 2022 indicated the office

was “currently processing November/December 2020, there is an extremely long wait for the

interview.”

        203    Mr. Mashkow contacted the Licensing Bureau a few months later and was told that

they are currently scheduling interviews for people who submitted the questionnaire in February

2021.

        204.   Mr. Mashkow was not aware that the statutory 6-month timeframe for issuing a

license did not begin until presentment of the State Application (PPB-3). Mr. Mashkow wants to

submit the completed PPB-3 application, the 2 required photographs, and his fingerprint-based

unsuppressed criminal history report from the Division of Criminal Justice Services but cannot

because SCPD does not provide its ORI number and will not accept the PPB-3 until the investigator

appointment.

        205.   Mr. Mashkow works in New York City from Monday-Friday and must leave his

residence before 9:00 a.m. and does not return until after 4:30 p.m.

        206.   If required to be fingerprinted, personally interviewed, and/or photographed at the

Licensing Bureau, Mr. Mashkow will have to take time off from work because the Licensing

Bureau is only open Monday through Friday from 9:00 a.m. until 4:30 p.m.

        207.   Mr. Mashkow contacted multiple businesses on Long Island, including Dark Storm

Industries in Oakdale, New York (Suffolk County), regarding the 18-hour training required to

apply for a concealed carry license. Each business confirmed that a handgun permit is required to

take the CCW training. Dark Storm charges $800 for the 18-hour training.



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Kevin McLaughlin

       208.   Kevin McLaughlin (“Mr. McLaughlin”), is a resident of Suffolk County and a U.S.

Marine reservist. Mr. McLaughlin has no prohibitors to the possession of firearms.

       209.   Mr. McLaughlin visited the SCPD website to see how to apply for a New York

State handgun license. According to the website, the only application required to apply was the

Applicant Questionnaire. In July 2022, Mr. McLaughlin filed a completed Applicant

Questionnaire with the $10 application fee made payable to “SCPD”.

       210.   Mr. McLaughlin contacted the Licensing Bureau approximately 1 month later to

see how long it would be before he was called in to be fingerprinted and was informed that he

would not be called in to be fingerprinted for approximately 3 years – in and around July 2025.

       211.   Mr. McLaughlin wants to submit the completed PPB-3 application, the 2 required

photographs, and his fingerprint-based unsuppressed criminal history report from the Division of

Criminal Justice Services to SCPD, but cannot because SCPD does not provide its ORI number

and will not accept the PPB-3 upon presentment.

Michael McGregor

       212.   Michael McGregor is a resident of Suffolk County and a practicing physician. Dr.

McGregor has no prohibitors to the possession of firearms.

       213.   Dr. McGregor visited the SCPD website to identify the process and procedure for

applying for a New York State pistol license. According to the website, the only application

required to apply for a handgun license was the “Applicant Questionnaire.”

       214.   Dr. McGregor completed and submitted the Applicant Questionnaire, along with

the $10 fee, to the Licensing Bureau on or about November 13, 2020.




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       215.    About a year later, and on or about October 13, 2021, Dr. McGregor contacted the

Licensing Bureau regarding the status of his application and was informed that no decision had

been made because the Pistol Licensing Bureau was currently “working on pistol license

applications from August 2020.”

       216.    Dr. McGregor was misled by the SCPD website, the SCPD Guide, and the forms

into believing that the Applicant Questionnaire he submitted with his check in November 2020

was the required application that started the 6-month clock under Penal Law § 400.00(4-a).

       217.    On December 7, 2021, Dr. McGregor filed a mandamus proceeding in Suffolk

County State Supreme Court to mandate then-SCPD police commissioner Stuart Cameron to issue

a determination on his handgun license application because more than 6 months had elapsed since

the filing of his application and payment of the filing fee.

       218.    SCPD moved to dismiss on the grounds that the Mandamus was “premature”

because although Dr. McGregor “submitted his Applicant Questionnaire on November 11, 2020,”

it is not until the “interview takes place [that] Petitioner will be fingerprinted and he will complete

the NYS Application. The six-month statutory timeframe…will the commence.”

       219.    SCPD referred to Dr. McGregor’s “application” being “assigned to an Applicant

Investigator” on November 15, 2021”, but the only document they could have been referring to

was the “Applicant Questionnaire” because they go on to state “[Dr. McGregor] has yet to be

called in for an interview…[which is when Dr. McGregor] will be fingerprinted and he will

complete the NYS Application.”

       220.    Defendant Komorowski’s affidavit explained SCPD’s licensing policy:

       221.    “The submission of the Pistol License Applicant Questionnaire is the first step

towards attaining a pistol license. The next step is for the applicant to be called into the Pistol



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Licensing Bureau for an interview, during which time the applicant is fingerprinted and a formal

New York State Pistol/Revolver License Application (form PPB3 rev. 06/17)[ ] is completed.”

Under SCPD policy, the “date the NYS Application and fingerprints are completed (the date of

the interview), is the date by which the six (6) month time frame as set forth in NYS Penal Law §

400.00(4-a) commences.

       222.    On January 11, 2022, SCPD contacted Dr. McGregor to schedule an appointment

to be interviewed and fingerprinted. When he was only offered Wednesday appointments by

Investigator Carpenter, Dr. McGregor asked if there were other days available because

Wednesdays conflicted with his work schedule and he would have to take the day off.

       223.    Investigator Carpenter replied that the Licensing Bureau only schedules interviews

and fingerprinting on Wednesdays.

       224.    Dr. McGregor took the day off from work to be interviewed and fingerprinted by

SCPD to obtain a handgun license.

       225.    On January 25, 2022, the State Supreme Court granted the County’s motion to

dismiss the mandamus proceeding as ‘premature’ because the PPB-3 had not yet been filed.

       226.    On January 26, 2022, SCPD called Dr. McGregor in for the Appointment, where

he was given the PPB-3 form, which he took home, completed, obtained signatures from his

references, and subsequently presented to SCPD.

       227.    Dr. McGregor was finally issued a handgun license on March 24, 2022 – 16 months

after filing the Applicant Questionnaire and his payment with SCPD.

       228.    The Suffolk County Defendants’ obstruction of Dr. McGregor’s right to purchase

and possess a handgun in his home for self-defense for 16 months was a wanton, malicious, willful,




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knowing, intentional and/or deliberate disregard for and violation of Dr. McGregor’s Second and

Fourteenth Amendment rights.

        229.    Dr. McGregor’s handgun license is restricted to carrying during sportsman

activities.

        230.    Dr. McGregor intends to carry his registered handgun for self-protection outside of

his sportsman restriction.

        231.    Dr. McGregor faces a credible threat of criminal enforcement by SCPD and NYSP,

arrest, incarceration, and other criminal and civil penalties under Penal Law § 400.00(15) for

carrying a handgun outside of his license restriction.

        232.    Prior to the enactment of the CCIA, and on August 15, 2022, Dr. McGregor filed

an Amendment application with Investigator Carpenter and paid the amendment fee of $5 with

SCPD to amend his sportsman license to remove his restrictions, consistent with Bruen.

        233.    Investigator Carpenter told him, “We’re doing the amendment that starts it, doesn’t

change anything right now, it’s just a $5 check or money order...to SCPD.” “Here’s your receipt

to show that you started the ‘process’ and just keep your eyes and ears open for further guidance

on the training and all that stuff.”

        234.    SCPD cashed Dr. McGregor’s check on August 17, 2022.

        235.    No provision of the CCIA applied before September 1, 2022.

        236.    And moreover, the CCIA applies to licenses ‘issued or renewed’ - not existing

concealed carry licenses amended to remove unconstitutional restrictions.

        237.    It is SCPD policy to hold applications to remove the unconstitutional restrictions

from existing concealed carry licenses until after the CCIA requirements, including the 18-hour




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training, went into effect and otherwise improperly subject restricted CCW licensees to the CCIA

regulations.



Frank Melloni and RFI

       238.    Frank Melloni is an NRA-certified firearms instructor and President of Renaissance

Firearm Instruction, Inc. (RFI), located in Suffolk County, New York. After the enactment of the

training requirements under the CCIA/Penal Law § 400.00(19), Mr. Melloni created a CCIA-

compliant curriculum to train and certify individuals seeking to carry a handgun concealed. Mr.

Melloni’s CCIA training curriculum encompasses the requirements of Penal Law § 400.00(19),

including a live-fire component.

       239.    RFI offers the 18-hour course to individuals who intend to apply for a concealed

carry license, including individuals who have not yet been issued a handgun license.

       240.    Lt. Komorowski informed Mr. Melloni that, if he conducts live-fire training with

individuals who have not yet been issued a handgun license, he and his unlicensed students will

be arrested by the SCPD.

       241.    Mr. Melloni was forced to deregister 4 unlicensed students enrolled in the RFI 18-

hour class for November 6, 2022 and refund their payment because of SCPD’s policy and Lt.

Komorowski’s threat.

       242.    After his conversation with Lt. Komorowski, Mr. Melloni called the licensing

bureaus of the Nassau County Police Department and the Suffolk County Sheriff’s Office. Both

agencies informed Mr. Melloni that, they are following the law as set forth in the Penal Law

exemption. Unlike SCPD, neither agency is going to arrest an unlicensed person who possesses a




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handgun during the live-fire training, or their trainers because there is a specific exemption in the

law.

       243.    Implicit in the right to bear arms is the right to engage in training, which includes

being instructed and providing instruction. Mr. Melloni and RFI also have a constitutional right to

expression, to wit, the firearms training and instruction they provide to the public as protected by

the First Amendment.

       244.    Mr. Melloni and RFI have suffered constitutional violations and economic loss

because of SCPD’s policy and Lt. Komorowski’s threat of arrest and incarceration in enforcing

the SCPD policy, and he will continue to suffer such violations and economic loss so long as

SCPD’s policy continues.

       245.    In December 2022 at Smithtown VOA Gun Club, Mr. Melloni will conduct the 18-

hour training with licensed students, and unlicensed students including Mr. Giambalvo, which will

include a live-fire handgun component, which subjects him to a credible threat of felony arrest for

Criminal Sale of a Firearm in the Third Degree (P.L. § 265.11), a Class D felony, particularly

because he has announced in this case his intention to violate the SCPD policy.

       246.    Even if the arrest by SCPD is ultimately determined to be unlawful and no

prosecution comes from it because there is a statutory exemption for live-fire training, the arrest,

fingerprinting, and jailing of Mr. Melloni will cause actual and irreparable harm.

       247.    Suffolk County’s policies violate the First, Second, Fourth, and Fourteenth

Amendments and enforcement of their policies and practices should immediately be preliminarily

and permanently enjoined.




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         248.   Other than Dr. McGregor’s 2020 handgun license application, no Plaintiff has been

assigned to an investigator and, under SCPD’s procedures, no Plaintiff will be fingerprinted,

photographed, or provided with the State Application until some Wednesday in 2024 at the earliest.

         249.   The individual Suffolk County defendants’ implementation and enforcement of the

policies and procedures described herein warrants an award of punitive damages.

         250.   The SCPD policies and procedures have caused Plaintiffs to suffer, inter alia, the

presumed violation of their constitutional rights as protected by the First, Second, Fourth, and

Fourteenth Amendments, presumed compensatory damages in at least a nominal amount,

economic damages, and they have otherwise been rendered sick and sore.

         251.   The enforcement of the challenged state statutes by the Suffolk County defendants

and Acting Superintendent Nigrelli violate the Second and Fourteenth Amendments.


                                      COUNT I
                     U.S. CONST., AMEND. II and XIV, 42 U.S.C. § 1983

         251.   Repeat and reallege paragraphs “1” through and including “250”.

         252.   Under the theory that the defendants are liable to plaintiffs for violations of their

preexisting and guaranteed individual rights as protected by the Second Amendment and made

applicable to the States through the Fourteenth Amendment, to the U.S. Constitution. 42 U.S.C.

§1983.

                                        COUNT II
                          U.S. CONST., AMEND. IV, 42 U.S.C. § 1983

         253.   Repeat and reallege paragraphs “1” through and including “ 252”.

         254.   Under the theory that Suffolk County, New York is liable to Plaintiffs for violations

of the Fourth Amendment for the intentional, deliberate, and conscious choice to fail to train,

supervise, and/or discipline the staff of the Suffolk County Licensing Bureau. 42 U.S.C. § 1983.

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                                       COUNT III
                         U.S. CONST., AMEND. IV, 42 U.S.C. § 1983

       255.    Repeat and reallege paragraphs “1” through and including “ 246”.

       256.    Under the theory that Suffolk County, New York is liable to Frank Melloni and

Renaissance Firearms Instruction, Inc. for violations of the First Amendment. 42 U.S.C. § 1983.

                                        COUNT IV
                                     MONELL LIABILITY

       257.    Repeats and realleges paragraphs “1” through and including “256”.

       258.    Under the theory that, by creating, maintaining, enforcing, following, and/or

applying the unconstitutional policies described herein, the County of Suffolk is liable to the

plaintiffs under Monell v. Dept. of Social Services of City of New York, 436 U.S. 658, 98 S.Ct.

2018 (1978) for the violations of Plaintiffs’ constitutional rights as plead herein, 42 U.S.C. §1983.



WHERFORE, a Judgment and Order is respectfully requested:

   •   Declaring (1) Penal Law sections 400.00(1)(b), 400.00(1)(o), 400.00(19), 400.30, and that

       portion of section 400.00(4-a) allowing statutory licensing officers 6 months to either issue

       a license or deny an application made thereunder violate the Second and Fourteenth

       Amendments; (2) Penal Law section 400.00(15) as applied to handgun licensees who carry

       a handgun registered thereon outside of their license restriction violates the Second and

       Fourteenth Amendments; (3) that a licensing process that exceeds 30 days from the

       presentment of the completed New York State Pistol/Revolver License Application (PPB-

       3) to the issuance of a license (or denial thereof) violates the Second and Fourteenth

       Amendments; and that (4) enforcement of a policy that subjects unlicensed individuals and



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       duly authorized firearm instructors to arrest and incarceration in the context of live-fire

       handgun training violates the First, Second, Fourth, and Fourteenth Amendments.

   •   Preliminarily and permanently enjoining Suffolk County Police Commissioner Rodney

       Harrison, and all successors, his officers, agents, servants, employees, and attorneys, and

       all other persons who are in active concert or participation with such defendants, who

       receive actual notice thereof from (1) implementing and enforcing Penal Law sections

       400.00(1)(b), 400.00(1)(o), 400.00(19), 400.30, that portion of section 400.00(4-a)

       allowing statutory licensing officers 6 months to either issue a license or deny an

       application made thereunder, (2) Penal Law section 400.00(15) against handgun licensees

       who carry a handgun concealed outside of their license restriction; (3) implementing a

       licensing process that exceeds 30 days between presentment of the completed State

       Application PPB-3 and issuance of a license (or denial thereof); (4) compelling applicants

       to complete any form, application or questionnaire other than the PPB-3, including the

       “Applicant Questionnaire”; (5) requiring applicants to be personally interviewed; (6)

       continuing to require “proper cause” for the issuance of a concealed carry license; and (7)

       enforcing a Suffolk County policy that subjects unlicensed individuals who participate in

       live-fire training with a duly authorized instructor to criminal penalties including arrest and

       incarceration;

   •   Preliminarily and permanently enjoining Acting Superintendent of the New York State

       Police Steven Nigrelli and all successors, his officers, agents, servants, employees, and

       attorneys, and all other persons who are in active concert or participation with him, who

       receive actual notice thereof from (1) publishing, implementing, and enforcing the

       requirements set forth in Penal Law section 400.00(1)(o) [page 2 of the PPB-3 (Rev.


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       08/22]; and (2) enforcing Penal Law section 400.00(15) against handgun licensees who

       carry a handgun concealed outside of their license restriction;

   •   Preliminarily and permanently compelling Suffolk County Police Commissioner Rodney

       Harrison (and all successors) to: (i) publish the New York State PPB-3 application on the

       Suffolk County Police Department website and local police precincts; (ii) accept the PPB-

       3 for filing from all applicants upon presentment; (iii) fingerprint applicants upon

       presentment of the completed PPB-3 or, in the alternative, publish the Suffolk County

       Police Department ORI number on its website and in local precincts for applicants to

       submit their fingerprints directly to the New York State Division of Criminal Justice

       Services; (iv) photograph applicants upon presentment of the completed PPB-3 or, in the

       alternative, accept 2 statutorily required photographs from applicants upon presentment of

       the PPB-3; (v) cease publishing information that requires (and requiring) applicants show

       “proper cause” for the issuance of a concealed carry license; (vi) provide hours of public

       accessibility outside of the Licensing Bureau’s currently restricted hours of Monday-Friday

       from 9:00 – 4:30 p.m.; and (vii) within 30 days of presentment of the completed PPB-3

       application, issue a license to all applicants eligible to possess firearms under state and

       federal law and provide ineligible applicants with a written notice specifying the grounds

       for denial.

   •   Awarding in favor of Plaintiffs and against Suffolk County, New York and the individually

       named defendants presumed compensatory damages in at least in a nominal amount for

       violating the Second and Fourteenth Amendments;




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   •   Awarding in favor of Plaintiffs and against Suffolk County, New York presumed

       compensatory damages in at least in a nominal amount for violating the Fourth

       Amendment;

   •   Awarding in favor of Frank Melloni and Renaissance Firearm Instruction, Inc. and against

       Suffolk County, New York presumed compensatory damages in at least in a nominal

       amount for violating the First Amendment;

   •   Awarding against each and every individually named defendant punitive damages as a jury

       may determine;

   •   Awarding costs, disbursements, and reasonable statutory attorney’s fees pursuant to 42

       USC 1988; and

   •   Granting such other, further, and different relief as to this Court seems just, equitable, and
       proper.


Dated: October 28, 2022
       Scarsdale, New York
                                                      THE BELLANTONI LAW FIRM, PLLC
                                                      Attorneys for Plaintiffs

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